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 6 Attorneys for Plaintiff
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:13-CR-00412 TLN
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   JOSE JAIME DIAZ, ET AL.,
15                                Defendants.
16

17                                               STIPULATION

18          1.      By previous order, this matter was set for status on February 13, 2014.

19          2.      By this stipulation, defendants now move to continue the status conference until March 6,

20 2014, at 9:30 a.m., and to exclude time between February 13, 2014, and March 6, 2014, under Local
21 Code T4.

22          3.      The parties agree and stipulate, and request that the Court find the following:

23                  a)     The government has represented that the discovery associated with this case

24 includes approximately 700 pages of documents and photographs, including investigative reports. All of

25 this discovery has been produced directly to counsel.

26                  b)     Counsel for defendants desire additional time consult with their clients, conduct

27 investigation and research, review discovery, and to discussion potential resolutions with their clients

28                  c)     Counsel for defendants believe that failure to grant the above-requested


      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND     1
30    ORDER
                 Case 2:13-cr-00412-TLN Document 16 Filed 02/07/14 Page 2 of 3


 1 continuance would deny counsel the reasonable time necessary for effective preparation, taking into

 2 account the exercise of due diligence.

 3                  d)     The United States does not object to the continuance.

 4                  e)     Based on the above-stated findings, the ends of justice served by continuing the

 5 case as requested outweigh the interest of the public and the defendant in a trial within the original date

 6 prescribed by the Speedy Trial Act.

 7                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 8 et seq., within which trial must commence, the time period of February 13, 2014 to March 6, 2014,

 9 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it
10 results from a continuance granted by the Court at defendants’ request on the basis of the Court’s

11 finding that the ends of justice served by taking such action outweigh the best interest of the public and

12 the defendant in a speedy trial.

13          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

14 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

15 must commence.

16          IT IS SO STIPULATED.

17
     Dated: February 6, 2014                                  BENJAMIN B. WAGNER
18                                                            United States Attorney
19                                                            /s/ Todd A. Pickles
                                                              TODD A. PICKLES
20                                                            Assistant United States Attorney
21
     Dated: February 6, 2014                                  /s/ Todd A. Pickles for
22                                                            DANNY BRACE
23                                                            Counsel for Defendant
                                                              Emilio Marquez Barba
24

25 Dated: February 6, 2014                                    /s/ Todd A. Pickles for
                                                              KATHERINE E. LATHROP
26                                                            Counsel for Defendant
                                                              Mario Lopez-Ayala
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      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND      2
30    ORDER
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 1 Dated: February 6, 2014                                  /s/ Todd A. Pickles for
                                                            DUSTIN JOHNSON
 2                                                          Counsel for Defendant
 3                                                          Gabriel Vargas-Guerrero

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 6                                         FINDINGS AND ORDER

 7        IT IS SO FOUND AND ORDERED this 7th day of February, 2014.

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                                                  Troy L. Nunley
12                                                United States District Judge

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     STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND     3
30   ORDER
